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                                   13                               UNITED STATES DISTRICT COURT
                                   14                          SOUTHERN DISTRICT OF CALIFORNIA
                                   15   PAMCHAL AZODI; IGNACIO                   Case No.:   '12CV3069 IEG BGS
                                        BARRAGAN; NADINE DAHDAH;
                                   16   KENT GLITZ; HANINA HOFFMAN;              COMPLAINT FOR DAMAGES FOR
                                        EMILY JOHNSON; SAMUEL                    VIOLATIONS OF:
                                   17   SANTOS; BRIAN SOASH; AND, KIP
                                        WILLIAMS,                                   I.       THE ROSENTHAL FAIR
                                   18                                                        DEBT COLLECTION
                                                         Plaintiffs,                         PRACTICES ACT CAL.
                                   19                                                        CIV. CODE §§ 1788-1788.32;
                                                               v.                            AND,
                                   20
                                        TEPL, INC. DBA MC                           II.      THE FAIR DEBT
                                   21                                                        COLLECTION PRACTICES
                                        ADMINISTRATORS,
                                                                                             ACT 15 U.S.C. §§ 1692-
                                   22                                                        1692(P)
                                                         Defendant.
                                   23                                            JURY TRIAL DEMANDED
                                   24
                                   25   ///
                                   26   ///
                                   27   ///
                                   28   ///


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                                    1                                             I NTRODUCTION

                                    2   1.   The United States Congress has found abundant evidence of the use of abusive, deceptive,

                                    3        and unfair debt collection practices by many debt collectors, and has determined that

                                    4        abusive debt collection practices contribute to the number of personal bankruptcies, to

                                    5        marital instability, to the loss of jobs, and to invasions of individual privacy. Congress

                                    6        wrote the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive

                                    7        debt collection practices by debt collectors, to insure that those debt collectors who refrain

                                    8        from using abusive debt collection practices are not competitively disadvantaged, and to

                                    9        promote consistent State action to protect consumers against debt collection abuses.

                                   10   2.   The California legislature has determined that the banking and credit system and grantors

                                   11        of credit to consumers are dependent upon the collection of just and owing debts and that
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                                   12        unfair or deceptive collection practices undermine the public confidence that is essential to
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                                             the continued functioning of the banking and credit system and sound extensions of credit
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                                   13
                                   14        to consumers. The Legislature has further determined that there is a need to ensure that

                                   15        debt collectors exercise this responsibility with fairness, honesty, and due regard for the

                                   16        debtor’s rights and that debt collectors must be prohibited from engaging in unfair or

                                   17        deceptive acts or practices.

                                   18   3.   PAMCHAL AZODI; IGNACIO BARRAGAN; NADINE DAHDAH; KENT GLITZ;

                                   19        HANINA HOFFMAN; EMILY JOHNSON; SAMUEL SANTOS; BRIAN SOASH; AND,

                                   20        KIP WILLIAMS (“Plaintiffs”), by Plaintiffs’ attorneys, brings this action to challenge the

                                   21        actions of TEPL, INC. DBA MC ADMINISTRATORS (“Defendant”) with regard to

                                   22        attempts by Defendant, debt collector, to unlawfully and abusively collect a debt allegedly

                                   23        owed by Plaintiffs, and this conduct caused Plaintiffs damages.

                                   24   4.   Plaintiffs make these allegations on information and belief, with the exception of those

                                   25        allegations that pertain to Plaintiffs, or to Plaintiffs’ counsel, which Plaintiffs allege on

                                   26        personal knowledge.

                                   27   5.   While many violations are described below with specificity, this Complaint alleges

                                   28        violations of the statutes cited in their entirety.


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                                    1   6.    Unless otherwise stated, Plaintiffs allege that any violations by Defendants were knowing

                                    2         and intentional, and that Defendants did not maintain procedures reasonably adapted to

                                    3         avoid any such violation.

                                    4   7.    Unless otherwise indicated, the use of any Defendants’ name in this Complaint includes all

                                    5         agents, employees, officers, members, directors, heirs, successors, assigns, principals,

                                    6         trustees, sureties, subrogees, representatives, and insurers of that Defendants named.

                                    7                                     J URISDICTION     AND   V ENUE

                                    8   8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331 and 15 U.S.C. § 1692k.

                                    9   9.    This action arises out of Defendant’s violations of (i) the Rosenthal Fair Debt Collection

                                   10         Practices Act, California Civil Code §§ 1788-1788.32 (“RFDCPA”); and, (ii) the Fair Debt

                                   11         Collection Practices Act, 15 U.S.C. §§ 1692-1692(p) (“FDCPA”).
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                                   12   10.   Because Defendants do business within the State of California, personal jurisdiction is
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                                              established.
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                                   13
                                   14   11.   The allegations herein are plead based upon good and fair notion and belief unless

                                   15         otherwise stated.

                                   16   12.   Venue is proper pursuant to 28 U.S.C. § 1391.

                                   17                                                   PARTIES

                                   18   13.   Plaintiffs are natural people who reside in the State of California, from whom a debt

                                   19         collector sought to collect a consumer debt which was due and owing or alleged to be due

                                   20         and owing from Plaintiffs, and are “debtors” as that term is defined by California Civil

                                   21         Code § 1788.2(h). In addition, Plaintiffs are “consumers” as that term is defined by 15

                                   22         U.S.C. § 1692a(3).

                                   23   14.   Plaintiffs are informed and believe, and thereon allege, that Defendant is a company

                                   24         operating from the State of California.

                                   25   15.   Plaintiffs are informed and believe, and thereon allege, that Defendant, in the ordinary

                                   26         course of business, regularly, on behalf of themselves or others, engage in “debt collection”

                                   27         as that term is defined by California Civil Code § 1788.2(b), and are therefore “debt

                                   28         collectors” as that term is defined by California Civil Code § 1788.2(c) and 15 U.S.C. §


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                                    1         1692a(6).

                                    2   16.   This case involves money, property or their equivalent, due or owing or alleged to be due

                                    3         or owing from a natural person by reason of a consumer credit transaction. As such, this

                                    4         action arises out of a “consumer debt” and “consumer credit” as those terms are defined by

                                    5         Cal. Civ. Code § 1788.2(f) and a “debt” as that term is defined by 15 U.S.C. 1692a(5).

                                    6                                       F ACTUAL A LLEGATIONS

                                    7   17.   At all times relevant, Plaintiffs are individuals residing within the State of California.

                                    8   18.   Plaintiffs are informed and believe, and thereon allege, that at all times relevant, Defendant

                                    9         conducted business in the State of California in the County of San Diego.

                                   10   19.   In or about 2010, Plaintiffs allegedly incurred financial obligations to the original creditor,

                                   11         Kaiser Permanente, that were money, property, or their equivalent, which is due or owing,
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                                   12         or alleged to be due or owing, from a natural person to another person and were therefore
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                                              “debt(s)” as that term is defined by California Civil Code §1788.2(d), and a “consumer
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                                   13
                                   14         debt” as that term is defined by California Civil Code §1788.2(f).

                                   15   20.   In 2010, Plaintiffs allegedly incurred financial obligations to the original creditor, Kaiser

                                   16         Permanente, that were money, property, or their equivalent, which is due or owing, or

                                   17         alleged to be due or owing, from a natural person to another person and were therefore

                                   18         “debt(s)” as that term is defined by California Civil Code §1788.2(d), and a “consumer

                                   19         debt” as that term is defined by California Civil Code §1788.2(f) and 15 U.S.C. § 1692a(6).

                                   20   21.   Sometime thereafter, Plaintiffs allegedly fell behind in the payments allegedly owed on the

                                   21         alleged debt. Plaintiffs currently take no position as to whether or not this alleged debt was

                                   22         actually owed.

                                   23   22.   Subsequently, the alleged debt was assigned, placed, or otherwise transferred, to Defendant

                                   24         for collection.

                                   25   23.   On or about January 3, 2012, a different consumer requested that Defendant validate an

                                   26         alleged debt for that consumer.

                                   27   24.   In doing so, Defendant disclosed the personal information of hundreds of other consumers,

                                   28         including Plaintiffs, in an attempt to validate the original consumer’s alleged debt.


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                                    1   25.    Defendant’s conduct in communicating Plaintiffs’ personal information in connection with

                                    2          the collection of an alleged debt to an unauthorized third party constitutes a violation of 15

                                    3          U.S.C. § 1692c(b), which is incorporated into the RFDCPA by Cal. Civ. Code § 1788.17.

                                    4          Through this conduct, Defendant also violated Cal. Civ. Code § 1788.17.

                                    5   26.    Moreover, Defendant’s publication of the list of hundreds of consumers that allegedly owe

                                    6          alleged debts to Defendant constitutes violations of both 15 U.S.C. § 1692d(3) and Cal.

                                    7          Civ. Code § 1788.12(c).

                                    8   27.    Through this conduct, Defendant took actions against Plaintiffs concerning the alleged debt

                                    9          in violation of the statutes discussed above. Consequently, Defendant violated Cal. Civ.

                                   10          Code §§ 1788.12(c); and, 1788.17. In addition, Defendant violated 15 U.S.C. §§ 1692c(b);

                                   11          and, 1692d(3).
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                                   13
                                   14         V IOLATION O F T HE R OSENTHAL F AIR D EBT C OLLECTION P RACTICES A CT

                                   15                           Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)

                                   16                                          [Against All Defendants]

                                   17   28.    Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as though

                                   18          fully stated herein.

                                   19   29.    The foregoing acts and omissions constitute numerous and multiple violations of the

                                   20          RFDCPA.

                                   21   30.    As a result of each and every violation of the RFDCPA, Plaintiffs is entitled to any actual

                                   22          damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages for a knowing or

                                   23          willful violation in the amount up to $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b);

                                   24          and reasonable attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from each

                                   25          Defendant individually.

                                   26   ///

                                   27   ///

                                   28   ///


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                                    1                                              C OUNT II

                                    2               V IOLATION O F T HE F AIR D EBT C OLLECTION P RACTICES A CT

                                    3                                15 U.S.C. §§ 1692-1692(p) (FDCPA)

                                    4                                       [Against All Defendants]

                                    5   31.   Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as though

                                    6         fully stated herein.

                                    7   32.   The foregoing acts and omissions constitute numerous and multiple violations of the

                                    8         FDCPA.

                                    9   33.   As a result of each and every violation of the FDCPA, Plaintiffs is entitled to any actual

                                   10         damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for a knowing or willful

                                   11         violation in the amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and
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                                   12         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from each
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                                              Defendant individually.
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                                   13
                                   14                                         PRAYER FOR RELIEF

                                   15   WHEREFORE, Plaintiffs prays that judgment be entered against Defendants for:

                                   16           •   an award of actual damages, in an amount to be determined at trial, pursuant to Cal.

                                   17               Civ. Code § 1788.30(a), against each named Defendant individually;

                                   18           •   an award of actual damages, in an amount to be determined at trial, pursuant to 15

                                   19               U.S.C. § 1692k(a)(1), against each named Defendant individually;

                                   20           •   an award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §

                                   21               1788.30(b), against each named Defendant individually;

                                   22           •   an award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §

                                   23               1692k(a)(2)(A), against each named Defendant individually;

                                   24           •   an award of costs of litigation and reasonable attorney’s fees, pursuant to Cal. Civ.

                                   25               Code § 1788.30(c), against each named Defendant individually.

                                   26           •   an award of costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C.

                                   27               § 1692k(a)(3), against each named Defendant individually; and,

                                   28   ///


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                                    1           •   Any and all other relief that this Court deems just and proper.

                                    2
                                    3
                                        Dated: December 28, 2012                                         Respectfully submitted,
                                    4
                                    5
                                                                                                         K AZEROUNI L AW G ROUP , APC
                                    6
                                    7                                                                        By: /s/ Abbas Kazerounian_____
                                                                                                                  ABBAS KAZEROUNIAN, ESQ.
                                    8                                                                              ATTORNEY FOR PLAINTIFFS
                                    9
                                   10
                                   11                                             T RIAL B Y J URY
                                        34.   Pursuant to the seventh amendment to the Constitution of the United States of America,
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                                   12
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                                              Plaintiffs is entitled to, and demands, a trial by jury.
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                                   13
                                   14
                                        Dated: December 28, 2012                                         Respectfully submitted,
                                   15
                                   16                                                                    K AZEROUNI L AW G ROUP , APC
                                   17
                                   18                                                                        By: /s/ Abbas Kazerounian_____
                                                                                                                  ABBAS KAZEROUNIAN, ESQ.
                                   19                                                                              ATTORNEY FOR PLAINTIFFS
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